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 1     JENNY L. FOLEY, Ph.D., ESQ.
       Nevada Bar No. 9017
 2     E-mail: jfoley@hkm.com
       HKM EMPLOYMENT ATTORNEYS LLP
 3     101 Convention Center Drive, Suite 600
       Las Vegas, Nevada 89109
 4     Tel: (702) 805-8340
       Fax: (702) 805-8340
       Attorney for Plaintiff
 5
                                UNITED STATES DISTRICT COURT
 6                                   DISTRICT OF NEVADA
 7      SANDRA M. MEZA-PEREZ an Individual,
                                                           CASE NO.: 2:19-cv-00373-APG-EJY
 8      Plaintiff,
        vs.
 9
        SBARRO LLC dba SBARRO PIZZA, a SPECIAL                           VERDICT             FORM
10      foreign limited liability company, SBARRO (PROPOSED)
        INC., dba SBARRO PIZZA a foreign
11      corporation, ZACHARY CEBALLES, an
        individual, EFRAIN HERNANDEZ, an
12      individual, JESUS ALATORRE, an
        individual,
13                          Defendants.
14                                     SPECIAL VERDICT FORM
15     You may read the entire verdict form before answering the questions. You must answer all of
       the questions, unless otherwise indicated. Answer the questions in numerical order. Follow all
16
       directions. After you have answered all required questions, the foreperson shall sign and date
17
       the Special Verdict Form and contact the bailiff.
18

19             1.     Has plaintiff proved, by a preponderance of the evidence, that she was subjected

20     to quid pro quo sexual harassment through the actions of Zachary Ceballes and/or Sbarro
       Defendant’s other employees?
21

22
               _______ YES _______ NO
23

24
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25

26
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 1
              If you answer yes to this question, proceed to Question 2. If you answer no, proceed to
 2     Question 4.

 3
              2.      Has plaintiff proved by a preponderance of the evidence that, after plaintiff
 4
       reported that she was subjected to quid pro quo sexual harassment, the Sbarro Defendants failed
 5
       to take reasonable remedial steps to end the sexually hostile work environment and to
 6     discourage possible future harassment by Sbarro Defendants’ employees?
 7

 8            _______ YES _______ NO

 9
              If you answer yes to this question, proceed to Question 3. If you answer no, proceed to
10
       Question 4.
11

12            3.      What sum of money, if any, do you unanimously agree will fairly and reasonably

13     compensate plaintiff for the injuries she proved she suffered as a result of the quid pro quo
       sexual harassment you found?
14

15
              $ ______________________________
16

17            Go to Question 4.

18
              4.      Has plaintiff proved, by a preponderance of the evidence, that she was subjected
19
       to a sexually hostile work environment through the actions of Zachary Ceballes and/or Sbarro
20     Defendant’s other employees?
21

22            _______ YES _______ NO

23

24
                                                Page 2 of 6
25

26
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 1
              If you answer yes to this question, proceed to Question 5. If you answer no, proceed to
 2     Question 7.

 3
              5.      Has plaintiff proved by a preponderance of the evidence that, after plaintiff
 4
       reported a sexually hostile work environment, the Sbarro Defendants failed to take reasonable
 5
       remedial steps to end the sexually hostile work environment and to discourage possible future
 6     harassment by Sbarro Defendants’ employees?
 7

 8            _______ YES _______ NO

 9
              If you answer yes to this question, proceed to Question 6. If you answer no, proceed to
10
       Question 7.
11

12            6.      What sum of money, if any, do you unanimously agree will fairly and reasonably

13     compensate plaintiff for the injuries she proved she suffered as a result of the sexually hostile
       work environment you found?
14

15
              $ ______________________________
16

17            Go to Question 7.

18
              7.      Has plaintiff proved by a preponderance of the evidence that, after plaintiff
19
       reported quid pro quo sexual harassment and/or a sexually hostile work environment, she was
20     subjected to retaliation through the actions of Zachary Ceballes and/or Sbarro Defendant’s other
21     employees?

22
              _______ YES _______ NO
23

24
                                                 Page 3 of 6
25

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 1
                If you answer yes to this question, proceed to Question 8. If you answer no, proceed to
 2     Question 9.

 3
                8.     What sum of money, if any, do you unanimously agree will fairly and reasonably
 4
       compensate plaintiff for the injuries she proved she suffered as a result of the retaliation you
 5
       found?
 6

 7              $ ______________________________

 8
                Go to Question 9.
 9

10
                9.     Has plaintiff proved, by a preponderance of the evidence, that she was subjected
11     to an assault(s) through the actions of Zachary Ceballes?
12

13              _______ YES _______ NO

14
                If you answer yes to this question, proceed to Question 10. If you answer no, proceed
15
       to Question 11.
16

17              10.    What sum of money, if any, do you unanimously agree will fairly and reasonably
       compensate plaintiff for the injuries she proved she suffered as a result of the assault(s) you
18
       found?
19

20              $ ______________________________
21

22              Go to Question 11.

23

24
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25

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 1
                11.    Has plaintiff proved, by a preponderance of the evidence, that she was subjected
 2     to a battery(ies) through the actions of Zachary Ceballes?

 3
                _______ YES _______ NO
 4

 5
                If you answer yes to this question, proceed to Question 12. If you answer no, proceed
 6     to Question 13.
 7

 8              12.    What sum of money, if any, do you unanimously agree will fairly and reasonably
       compensate plaintiff for the injuries she proved she suffered as a result of the battery(ies) you
 9
       found?
10

11              $ ______________________________
12

13              Go to Question 13.

14
                13.    Has plaintiff proved, by a preponderance of the evidence, that she was subjected
15
       to false imprisonment(s) through the actions of Zachary Ceballes?
16

17              _______ YES _______ NO

18
                If you answer yes to this question, proceed to Question 14. If you answer no, proceed
19
       to Question 15.
20

21              14.    What sum of money, if any, do you unanimously agree will fairly and reasonably

22     compensate plaintiff for the injuries she proved she suffered as a result of the false
       imprisonment(s) you found?
23

24
                                                 Page 5 of 6
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 1
              $ ______________________________
 2

 3            Go to Question 15.

 4
              15.     Has plaintiff proved, by a preponderance of the evidence, that she was subjected
 5
       to intentional infliction of emotional distress through the actions of Zachary Ceballes?
 6

 7            _______ YES _______ NO

 8
              If you answer yes to this question, proceed to Question 16. If you answer no, you have
 9
       completed this verdict form.
10

11            16.     What sum of money, if any, do you unanimously agree will fairly and reasonably
12     compensate plaintiff for the injuries she proved she suffered as a result of the intentional

13     infliction of emotional distress you found?

14
              $ ______________________________
15

16            You have completed the verdict form. Please sign and date below.

17     Dated this ___ of September, 2022.
18
                                             ___________________________________________
19                                           FOREPERSON, CASE NO.: 2:19-cv-00373-APG-EJY
20

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22

23

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